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                                                  U.S. Department of Justice
                                                  United States Attorney
                                                  District of New Jersey


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                                                  December 18, 2019

VIA ECF
Honorable John Michael Vazquez
United States District Court Judge
District of New Jersey
United States Post Office & Courthouse
Federal Square
Newark, New Jersey 07102

         Re:      United States v. Daniel Jenkins, 15-CV-2091
                  Opposition to Petitioner’s Omnibus Petition

Dear Judge Vazquez:

       Please accept this letter brief in response to Petitioner Daniel Jenkins’
(“Jenkins” or “Petitioner”) Omnibus Petition to Vacate Conviction and Sentence
Pursuant to 28 U.S.C. § 2255 (Doc. no. 47). In sum, Jenkins argues that his
conviction and sentence should be vacated because the Court improperly
deemed him a career offender at sentencing and because he suffered from
ineffective assistance of counsel. As set forth below and in the Government’s
prior submissions in this case, Jenkins has failed to make a “substantial
showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2); see also
United States v. Travillion, 759 F.3d 281, 288 (3d Cir. 2014) (“[R]elief under §
2255 is available only when ‘the claimed error of law was ‘a fundamental defect
which inherently results in a complete miscarriage of justice’ and . . .
‘present[s] exceptional circumstances where the need for the remedy afforded
by the writ . . . is apparent.’” (citations omitted)). Accordingly, the Petition
should be denied.

      In multiple prior submissions in this case, the Government has
summarized the factual and procedural history, set forth the governing
standards for relief, and responded in detail to each of Jenkins’ arguments—
including the arguments set forth in his Omnibus Petition. 1 For the benefit of

1 The United States incorporates all prior submissions in this matter by reference. The

Government’s prior submissions include (1) Response of the United States to Daniel Jenkins’
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the Court, a brief summary of the Government’s responses to Petitioner’s key
arguments are set forth below.

         I.    The Court Properly Deemed Jenkins a Career Offender

       At sentencing, Judge Walls properly found that Jenkins was a career
offender pursuant to U.S. Sentencing Guideline § 4B1.1 because Jenkins had
at least two prior convictions for controlled substances offenses. In fact,
Jenkins had three prior convictions for distribution of a controlled substance
within 1,000 feet of school property in violation of N.J. Stat. Ann. § 2C:35-7(a).
All three qualified as predicate convictions to deem Jenkins a career offender.
Jenkins argues that the Court improperly counted these convictions as
“controlled substance offenses” as defined in U.S.S.G. §4B1.2. Jenkins relies
on Chang-Cruz v. Attorney General United States, 659 Fed.Appx. 114 (3d Cir.
2016) to argue that N.J.S.A. § 2C:35-7 criminalizes conduct that is broader
than the definition of controlled substance offense as defined in U.S.S.G.
§4B1.2 and hence cannot be used as a predicate to designate him a career
offender. Jenkins’ reliance on Chang-Cruz is misplaced.

      The issue in Chang-Cruz was whether N.J. Stat. Ann. § 2C:35-7(a)—
which prohibits distributing, dispensing, or possessing with intent to distribute
a controlled substance within 1,000 feet of a school—qualified as an aggravated
felony under the federal deportation statue, 8 U.S.C. §§ 1227(a)(2)(A)(iii) and
1101(a)(43)(B). Chang-Cruz, 659 Fed.Appx. at 116–17. The Third Circuit found
that the New Jersey statute was broader than its federal counterpart, i.e., 21
U.S.C. § 860, and thus could not qualify as an aggravated felony. Id. at 119.

       However, Chang-Cruz did not address the issue that Jenkins has
presented here, which is whether a conviction under N.J.S.A. § 2C:35-7
qualifies as “controlled substance offense” and thus a predicate to be
considered a career offender under U.S.S.G. § 4B1.2(a). Contrary to Jenkins’
arguments, the Third Circuit has explicitly held that it does. See United States



Petition Pursuant to 28 U.S.C. § 2255, May 15, 2016 (Doc. no. 4); (2) Letter from the United
States in Response to Petitioner's Supplemental Petition, Jan. 28, 2016 (Doc. no. 22); (3) Letter
from the United States in response to Court Order, April 4, 2018 (Doc. no. 33) (further
addressing Petitioner’s supplemental arguments regarding career offender designation); and (4)
Letter from the United States in Response to Petitioner Letter, June 8, 2019 (Doc. no. 41)
(further addressing Petitioner’s ineffective assistance claim based on failure to file notice of
appeal).


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v. Lampley, 723 Fed.Appx. 152 (3d Cir. 2018) (distinguishing Chang-Cruz). 2 In
Lampley, the Third Circuit held that under the definition of “controlled
substance offense” in U.S.S.G. § 4B1.2(b), “there can be no doubt that
Lampley’s conviction under the New Jersey statute is a categorical match to its
federal counterpart, as both cover conduct related to “dispensing” and
“distributing.” As such, Lampley was properly qualified as a career offender for
sentencing purposes.” Lampley, 723 F. App’x at 155.

        II.   Jenkins Did Not Receive Ineffective Assistance of Counsel

       Jenkins argues that his attorney Michael Gilberti was ineffective because
he: (1) also represented Jenkins’ co-defendant John Edwards in connection
with his plea and sentencing; (2) did not demand independent laboratory tests
of the drug evidence; and (3) failed to file a timely notice of appeal.

       In order to establish that he received constitutionally ineffective
assistance from counsel, Jenkins has the burden to prove that (1) his counsel’s
performance fell below an objective standard of reasonableness; and (2) he
suffered prejudice as a result. Strickland v. Washington, 466 U.S. 668, 687
(1984); see also Grant v. Lockett, 709 F.3d 224, 232 (3d Cir. 2013). To show
deficient performance, Jenkins must establish that “counsel made errors so
serious that counsel was not functioning as the ‘counsel’ guaranteed the
petitioner by the Sixth Amendment.” Id. To establish prejudice, Jenkins must
demonstrate “a reasonable probability that, but for counsel’s unprofessional
errors, the result of the proceeding would have been different.” Id. at 694. A
reasonable probability is “a probability sufficient to undermine confidence in
the outcome.” Id. Here, Jenkins has not met his burden to show either
deficient performance or prejudice.

      Jenkins did not receive ineffective assistance of counsel due to his
attorney’s representation of co-defendant John Edwards. Jenkins’ argument is
based on the baseless assumption that Edwards received a reduced sentence
because he cooperated with the Government and provided information
detrimental to Jenkins. Jenkins has provided no factual support for this

2 See also United States v. Shannon, 2017 WL 4978671, at *7 (3d Cir. Nov. 1, 2017)
(unpublished) (holding that a violation of N.J.S.A. § 2C:35–7(a) “is properly considered a
controlled substance offense” to qualify the defendant as a career offender under the U.S.
Sentencing Guidelines); see also United States v. Jackson, 711 F. App’x 90, 92 (3d Cir. 2017)
(unpublished) (“Unlike [21 U.S.C.] § 860, the Career Offender Guideline does cover “dispensing”
in its disjunctive list of elements. Thus, [defendant’s] reliance on Chang–Cruz is misplaced.”)

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assertion. In fact, the transcript of Edwards’ sentencing hearing makes clear
that Judge Walls granted a departure pursuant to U.S.S.G. § 4A1.3(b), finding
that Edwards’ criminal history category overrepresented his criminal history.
See Edwards Sentencing Hr’g Tr. 12:4–13:17, March 11, 2014.

       Moreover, Jenkins made a knowing and informed waiver of the potential
conflict of interest presented by Gilberti’s dual representation on two separate
occasions. First, before then Magistrate Judge Patty Schwartz and then again
before Judge Walls at Jenkins’ plea hearing. Because Jenkins has not,
because he can not, offered any facts to support his claim that Gilberti had an
impermissible conflict that Jenkins did not waive, his ineffective assistance
claim must fail.

       Similarly, Jenkins’ argument that his counsel was ineffective for failure
to demand independent laboratory tests of the drugs also lacks merit. Here,
Jenkins again cites no facts or legal authority to support why failing to have
the drugs tested by an independent laboratory was objectively unreasonable
under the circumstances. See Bethea v. Frank, No. 16-CV-6879, 2018 WL
1883448, at *7 (S.D.N.Y. Mar. 20, 2018), report and recommendation adopted,
2018 WL 1891309 (S.D.N.Y. Apr. 18, 2018) (rejecting petitioner’s claim that his
trial counsel was ineffective for not retaining an independent laboratory to test
drug evidence). In addition, Jenkins knowingly and willingly pleaded guilty
pursuant to a plea agreement, which explicitly set forth the type and quantities
of the drugs involved in the crime. Because Jenkins never challenged the drug
calculations or laboratory tests before, he is barred from raising them on
collateral review now. See United States v. Frady, 456 U.S. 152, 165 (1982)
(“[A] collateral challenge may not do service for an appeal.”); Thomas v. United
States, No. CV 09-CV-5339 (KSH), 2016 WL 3129614, at *3 (D.N.J. June 1,
2016) (citing Frady in finding that petitioner was procedurally barred from
raising an issue in a collateral attack that he failed to raise on direct appeal).

      Finally, Jenkins has not shown that he is entitled to relief because his
attorney failed to file a notice of appeal. The Supreme Court has held that
“‘when counsel’s constitutionally deficient performance deprives a defendant of
an appeal that he otherwise would have taken, the defendant has made out a
successful ineffective assistance of counsel claim entitling him to an appeal,”
with no need for a ‘further showing’ of his claims’ merit, . . . regardless of
whether the defendant has signed an appeal waiver.” Garza v. Idaho, 139 S.
Ct. 738, 747, 203 L. Ed. 2d 77 (2019) (quoting Roe v. Flores-Ortega, 528 U.S.


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470 (2000)). Here, however, Jenkins was not deprived of an appeal because he
immediately filed a notice of appeal pro se. Not only did Jenkins file the notice
of appeal, his appeal was also heard by the Third Circuit. In fact, after Jenkins
requested that his appointed counsel be relieved, Jenkins submitted a pro se
response to the Government’s motion to enforce the appellate waiver in his plea
agreement. Ultimately, the Third Circuit granted the Government’s motion and
dismissed the appeal because it was barred by the appellate waiver provision of
his plea agreement. However, there is nothing in the appellate record to
suggest that Jenkins was “deprive[d] . . . of an appeal that he otherwise would
have taken.” Id. Even if his counsel had filed and argued the appeal, the
result would have been the same because of the appellate waiver in the plea
agreement. Thus, Jenkins cannot show that he was prejudiced by any actions
or inactions of counsel.

      In sum, Jenkins has failed to show that “counsel made errors so serious
that counsel was not functioning as the ‘counsel’ guaranteed the petitioner by
the Sixth Amendment.” Strickland v. Washington, 466 U.S. 668, 104 S.Ct.
2052, 80 L.Ed.2d 674 (1984). Hence, his petition should be denied.

      III.   No Hearing Is Warranted and No Certificate of Appealability
             Should Issue

       An evidentiary hearing is not required when “the motion and the files and
records of the case conclusively show that the prisoner is entitled to no relief.”
28 U.S.C. § 2255(b); see also United States v. Tolliver, 800 F.3d 138, 141 (3d
Cir. 2015) (evidentiary hearing is only necessary when the petition “allege[s]
any facts warranting § 2255 relief that are not clearly resolved by the record.”
(quoting Booth, 432 F.3d 542 (3d Cir. 2005))). Specifically with regard to
ineffective assistance claims, the Third Circuit has held that, if “on the existing
record, those claims that are non-frivolous conclusively fail to show ineffective
assistance of counsel,” that is, “[i]f a non-frivolous claim clearly fails to
demonstrate either deficiency of counsel’s performance or prejudice to the
petitioner, then the claim does not merit a hearing.” United States v. Dawson,
857 F.2d 923, 927 (3d Cir. 1988).

      As set forth above and in the Government’s prior submissions in this
matter, Jenkins’ collateral attack on his plea and sentence is based largely on
inaccurate facts contradicted by the record. Furthermore, the facts presented
by Jenkins do not establish that his counsel was objectively deficient or that


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Jenkins suffered any prejudice. Hence, no hearing is warranted. Similarly, a
certificate of appealability should not be issued. See Slack v. McDaniel, 529
U.S. 473, 484, 120 S.Ct. 1595 (2000) (certificate of appealability should only be
issued where a petitioner has shown “that reasonable jurists would find the
district court’s assessment of the constitutional claims debatable or wrong”).

                                            Respectfully submitted,

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                                     By:
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